Case 3:17-cV-00837-RDI\/| Document 84 Filed 02/06/19 Page 1 of 2

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE M|DDLE DlSTR|CT OF PENNSYLVAN|A

RAMON MONTES DE OCA, et al.,
Plaintiffs,
v. § 3:11-cv-337
(JUDGE MAR|AN|)
|GNAC|O BEATO, et al.,
Defendants.
QBQEB
AND NOW, TH|S (§§l § DAY OF FEBRUARY, 2019, upon consideration of
Plaintifis’ Nlotion to Enlarge Schedu|ing Order (Doc. 83), lT lS HEREBY ORDERED THAT
Plaintiff’s Motion is GRANTED as follows:
1. All fact discovery shall be commenced in time to be completed by May 1, 2019.
2. All potentially dispositive motions shall be died no later than June 3, 2019. lf filing
a motion for summary judgment, counsel shall provide the Court with a courtesy
copy of that motion, supporting brief, and all accompanying exhibits. Counsel for
the non-moving party shall also provide a courtesy copy of the brief in opposition to
the motion for summary judgment and all accompanying exhibits.
3. Reports from Plaintiffs’ experts shall be due by June 3, 2019.

4. Reports from Defendants’ experts shall be due by July 3, 2019.

5. Supplementations shall be due by July 18, 2019.

Case 3:17-cV-00837-RDI\/| Document 84 Filed 02/06/19 Page 2 of 2

6. Al| expert discovery shall be commenced in time to be completed by September

12, 2019.

    

 

Rdbert o.hia=iam/
United States District Judge

